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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                              FORT MYERS DIVISION

UNITED STATES OF AMERICA

VS.                                                  CASE NO: 2:14-cr-79-FtM-38DNF

AMBER PALFALVI


                                          ORDER

       This matter comes before the Court on Motion to Allow Defendant to Retain Expert

Witness (Doc. #93) filed on February 16, 2015. Counsel moves the Court for an order

allowing the retention of an expert witness in the area of synthetic chemistry and

biochemistry, and granting the fees associated with such1.          Counsel has contacted

Gregory B. Dudley, Ph.D., Associate Professor and Associate Chair, Department of

Chemistry and Biochemistry at Florida State University, and he is available to testify at

the Defendant’s sentencing scheduled for April 6, 2015. However, Counsel does not

include the required specifics including the rate per hour, an estimate of how many hours

is necessary to complete the services requests, and travel costs. The Court must have

this information in order to accurately determine whether the expense is a necessity and

if necessary, affirm this information to the Eleventh Circuit Court of Appeals 2.

       Accordingly, it is now



1As the Defendant has been found to be indigent, Defense Counsel was appointed to
represent the Defendant pursuant to the Criminal Justice Act.
2 Pursuant to Guide to Judicial Policy, Vol. 7A, § 310.20.10(a)-(e), with prior authorization,

compensation for investigative, expert, and other services is limited to $2,400.00.
§310.20.20 provides that payment in excess of the $2,400.00 may be made when certified
by the District Court and approved by the Chief Judge of the Circuit.
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      ORDERED:

      The Motion to Allow Defendant to Retain Expert Witness (Doc. 93) is DENIED

without prejudice.

      DONE AND ORDERED at Fort Myers, Florida, this February 18, 2015.




Copies: Counsel of Record




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